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UNITED STATES DISTRICT COURT
SOUTHERN DlSTRlCT OF NEW YORK

Plaintiff, l 3/ZL'/|Yv

_V_ NO, ]S-CV-6664 (RJS)
M

 

MICHAEL UNDERWOOD,

TAFSC HOUSING DEVELOPMENT
FUND CORPORATION, et a/.,

Defendants.

 

 

RICHARD J. SULLIVAN, District Judge:

Plaintiff instituted this action on July 25, 2018 against five defendants: (l) TAFSC
Housing Developrnent Fund Corporation (“TAFSC”), (2) The Third Avenue Family Service
Center, Inc. (“Third Avcnue"`), (3) Linda Washington (the executive director of TAFSC), (4) the
City of New York (the “City”), and (5) the New York State Homeless Housin;§,r and Assistance
Corporation (“NYSHHAC”). (Doc. No. 1.) On August 17, 2018, the Court entered an order
extending the deadline to answer or otherwise respond to the complaint for TAFSC, Thi'rd Avenue,
and NYSHHAC -the defendants as to which certificates ot` service had been filed on the Court’s
electronic docket. (Doc. No. 8.) On August 21, 2018, the Court received a letter from the City
requesting an extension of its deadline to answer or otherwise respond to the complaint until
October 5, 2018. (Doc. No. 10.) Plaintiff consented to an extension until September 6, 201 S, but
did not agree to extend the City’s deadline to October 5, 2018. (ld.) Accordingly, on August 22,
2018, the Court entered an order extending the City`s time to answer or otherwise respond to the
complaint until September 6, 2018, and directing Plaintiff to explain why it did not consent to
extend the deadline for all parties to answer or otherwise respond to the complaint until October

5, 2018. (Doc. No. 11.)

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The Court is now in receipt ofthree filings. First, on August 22, 20] 8, the Court received
a letter from Plaintiff indicating that he consents to extend the deadline for all Defendants to answer
or otherwise respond to the complaint until October 5, 2018 on condition that the Court refer this
case to the assigned Magistrate Judge, Judge Wang, for a settlement conference (Doc. No. 12.)
Second, on August 23, 2018, the Court received a letter from NYSHHAC opposing Plaintiff"s
request for a settlement conference (Doc. No. 13.) Third, also on August 23, 2018, the Court
received a pre-motion letter regarding NYSHHAC`s contemplated motion to dismiss (Doc. No.
14_)

ln light of Plaintiff" s consent to extend the deadline of all Defendants to answer or
otherwise respond to the complaint until October 5, 2018, IT IS HEREBY ORDERED that the
deadline for all Defendants to answer or otherwise respond to the complaint is adjourned to
October 5, 2018. No further extensions will be granted absent w compelling circumstances

IT IS FURTHER ORDERED that the parties shall appear for an initial conference on
October 26, 2018 at 10:30 a.m. in Courtroom 905 of the Thurgood Marshall United States
Courthouse, 40 Foley Square, New York, New York.

IT IS FURTHER ORDERED THAT_, by October 18, 2018, the parties shall jointly Submit
a letter, not to exceed five (5) pages, providing the following information in separate paragraphs:

(1) A brief statement of the nature of the action and the principal defenses

thereto;
(2) A brief explanation of why jurisdiction and venue lie in this Court;
(3) A brief description of all outstanding motions and/or outstanding requests

to file motions;

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(4) A brief description of any discovery that has already taken place, and that

which will be necessary for the parties to engage in meaningful settlement
negotiations;

(5) A list of all prior settlement discussions, including the date, the parties

involved, and the approximate duration of such discussions, if any;

(6) The estimated length of trial; and

(7) Any other information that the parties believe may assist this Court in

resolving this action.

lT lS FURTHER ORDERED THAT, by October 18, 2018, the parties shall submit to the
Court a proposed case management plan and scheduling order. A template for the order is
available at: http://www.nysd.uscourts.gov/judge/Sullivan.

The status letter and the proposed case management plan should be filed on ECF and
emailed to my chambers at the following address: sullivanNYSDchambers@nysd.uscourts.gov.
Please consult my lndividual Rules with respect to communications with chambers and related
matters.

Additionally, given Plaintiff"s representations that Defendants "‘have terminated Plaintiff"
from his employment “and may be seeking to evict him” and that “this case involves some
complexities . . . which can be more easily and expeditiously resolved or narrowed with the help
of a Magistrate Judge" (Doc. No. 12), and the substantial delay in this case that has come at
Defendants’ request. the Court agrees that referral to Magistrate Judge Wang for settlement
purposes is warranted lT lS FURTHER ORDERED that the parties shall contact l\/lagistrate Judge

Wang no later than August 29, 2018 regarding the scheduling of a settlement conference

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IT lS FURTHER ORDERED that, pursuant to the Court’s lndividual Rule 2.A, Plaintiff
shall submit a response to NYSHHAC’s pre»motion letter (Doc. No. 13), not to exceed three pages,
no later than Tuesday, August 28, 2018. lT lS FURTHER ORDERED that the initial conference
scheduled for October 26, 2018 shall also serve as a pre-motion conference to address
NYSHl-IAC’s contemplated motion.

As set out in this order, the deadline for all Defendants in this case to answer or otherwise
respond to the complaint is October 5, 2018, though the Court notes that, by operation of the
Court’s lndividual Rule 2.A, the deadline for NYSHHAC to answer the complaint is stayed
through the date of the initial and pre-motion conference Should any other Defendant seek to
move to dismiss the complaint in this case, that party’s pre-motion letter must be filed no later than
the deadline to answer or otherwise respond to the complaint

Plaintiffshall serve all Defendants that have not yet appeared in this case with a copy of
this Order and file a certificate of service on ECF indicating that this service was effectuated

Those Defendants that have not yet appeared shall thereafter file a notice of appearance through

ECF.

SO ORDERED.
Dated: August 23, 2018
New York, New York
C

HARD J. SULLIVAN
UNITED STATES DlSTRlCT JUDGE

 

